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FoR THE wEsTERN DISTRICT 0F TENNESSEE 19 \ 525
EASTERN DIvlsIoN §§ 395 '
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MARYLAND cAsUAL'rY COMPANY, /;,/§SZ_/~Z,’;/`
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Plaintil’f,

VS. Civil Action No. 04-1197-T

L & H sUPPLY CoMPANY, INC.,
ET AL.

Defendants.

 

ORDER GRANT]NG JOIN'I` MOTION 'I`O AMEND
THE JOINT SCHEDULING ORDER

 

Upon Joint Motion of Plaintiff and Defendants, filed on this l day of May, 2005, and
for good cause shown, this Court GRANTS the Joint Motion of counsel, to amend the Joint
Scheduling Order and ORDERS that parties have an additional period, up to and including J_une
20, 2005, within which to conclude discovery

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the current
deadline for discovery of May 2 2005 as set out in the Joint Scheduling Order, be and the same

is hereby amended to June 20, 2005 to conclude discovery

so oRDEREDthiS 3 day of.{:mh 2005
©?WMP- Q*’/’/\

UNITH?$ sTATEs DISTRICT JUDGE

/vj/

Dated this 3 clay of May, 2005.

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This document entered on the docket sheet ln compliance

with Rule sa and or 79 (a) FHCP on _M_ ( )
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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in

case 1:04-CV-01197 Was distributed by faX, mail, or direct printing on

May 5, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

